Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 1 of 16 Page ID #:34



 1   Ned Gelhaar (State Bar. No. 163185)
     ngelhaar@enensteinlaw.com
 2   ENENSTEIN PHAM & GLASS APC
     12121 Wilshire Boulevard
 3   Suite 600
     Los Angeles, CA 90025
 4   Phone: (310) 899-2070
     Fax: (310) 496-1930
 5
 6   Randy Michels (TN Bar No. 21604)
     randy@trust-tree.com
 7   Bill Ferrell (TN Bar No. 27220)
 8   bill@trust-tree.com
     Kevin Hartley (TN Bar No. 29199)
 9   kevin@trust-tree.com
10   TRUST TREE LEGAL, P.C.
     1321 Adams Street
11   Nashville, TN 37208
     Phone: (615) 852-8408
12   pro hac vice applications to be filed
13
     Counsel for Alien Vapor Enterprises, LLC
14
15                             UNITED STATES DISTRICT COURT

16                           CENTRAL DISTRICT OF CALIFORNIA

17
     MIKE SARIEDDINE, an individual,        ) Case No. 2:18-cv-3297
18                                          )
                             Plaintiff,     ) DEFENDANT ALIEN VAPOR
19                                          ) ENTERPRISES, LLC’S ANSWER
                  v.                        ) TO COMPLAINT AND
20                                          ) COUNTERCLAIMS
     ALIEN VAPOR ENTERPRISES, LLC, a )
21   Florida limited liability company; and )
     GLENN POLACEK, an individual,          )
22                                          )
                             Defendants.    )
23                                          )

24         Defendant Alien Vapor Enterprises, LLC (“Alien Vapor”) hereby answers

25   plaintiff Mike Sarieddine’s (“Sarieddine’s”) Complaint as follows:

26               ANSWER TO THE ALLEGATIONS OF THE COMPLAINT

27         1.       The allegations in Paragraph 1 state legal conclusions to which no

28   response is required. Alien Vapor denies all remaining allegations in Paragraph 1.

29                                                    1
                DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 2 of 16 Page ID #:35



 1         2.       Alien Vapor lacks knowledge or information sufficient to form a belief as
 2   to the truth or falsity of the allegations in Paragraph 2, and therefore denies the same.
 3         3.       Alien Vapor admits that it markets and sells e-liquid vaporizer products
 4   under the brand name “ALIEN VAPOR”. Alien Vapor lacks knowledge or information
 5   sufficient to form a belief as to the truth or falsity of the remaining allegations in
 6   Paragraph 3, and therefore denies the same.
 7         4.       Alien Vapor admits that it advertises and sells e-liquid vaporizer products
 8   under the name “ALIEN VAPOR”. Alien Vapor denies all remaining allegations of
 9   Paragraph 4.
10         5.       Denied.
11         6.       Alien Vapor lacks knowledge or information sufficient to form a belief as
12   to the truth or falsity of the allegations in Paragraph 6, and therefore denies the same.
13         7.       Alien Vapor admits that it is a Florida limited liability company having its
14   principal place of business at 1014 Greenturf Road, Spring Hill, Florida 34608. Alien
15   Vapor lacks knowledge or information sufficient to form a belief as to the truth or
16   falsity of the remaining allegations in Paragraph 7, and therefore denies the same.
17         8.       Alien Vapor admits that Glenn Polacek is an individual residing in
18   Florida. Alien Vapor denies the remaining allegations of Paragraph 8.
19         9.       The allegations in Paragraph 9 set forth legal conclusions to which no
20   response is required.
21         10.      The allegations in Paragraph 10 set forth legal conclusions to which no
22   response is required. Alien Vapor otherwise denies the allegations in Paragraph 10.
23         11.      The allegations in Paragraph 11 set forth legal conclusions to which no
24   response is required.
25         12.      Alien Vapor lacks knowledge or information sufficient to form a belief as
26   to the truth or falsity of the allegations in Paragraph 12, and therefore denies the same.
27         13.      Alien Vapor admits there is a website located at www.alienvape.com, and
28   that certain goods are promoted on that website. Alien Vapor lacks knowledge or
29                                                    2
                DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 3 of 16 Page ID #:36



 1   information sufficient to form a belief as to the truth or falsity of the remaining
 2   allegations in Paragraph 13, and therefore denies the same.
 3         14.    Denied.
 4         15.    Denied
 5         16.    Alien Vapor admits that Sarieddine claims to own federal registrations on
 6   for the marks ALIEN VAPE and ALIEN VAPE. VAPE JUST GOT REAL! & Design.
 7   Alien Vapor lacks knowledge or information sufficient to form a belief as to the truth
 8   or falsity of the remaining allegations in Paragraph 16, and therefore denies the same.
 9         17.    The allegations in Paragraph 17 set forth legal conclusions to which no
10   response is required. Alien Vapor denies all remaining allegations in Paragraph 17.
11         18.    The allegation in Paragraph 18 regarding the existence of Sarieddine’s
12   common law rights sets forth a legal conclusion to which no response is required.
13   Alien Vapor lacks knowledge or information sufficient to form a belief as to the truth
14   or falsity of the remaining allegations in Paragraph 18, and therefore denies the same.
15         19.    Alien Vapor lacks knowledge or information sufficient to form a belief as
16   to the truth or falsity of the allegations in Paragraph 19 regarding Sarieddine’s
17   marketing, promotion, and use of his purported marks, and therefore denies the same.
18   Alien Vapor denies all remaining allegations in Paragraph 19.
19         20.    Alien Vapor admits that it advertises and sells electronic cigarette
20   products using the designation “ALIEN VAPOR”. Alien Vapor admits that the ALIEN
21   VAPOR mark and Sarieddine’s purported marks share the first term “ALIEN”. Alien
22   Vapor denies the remaining allegations of Paragraph 20.
23         21.    Alien Vapor admits that one of its products is shown in Paragraph 21.
24   Alien Vapor denies the remaining allegations of Paragraph 21.
25         22.    Alien Vapor admits that it is engaged in the sale of electronic cigarette
26   products bearing the ALIEN VAPOR mark, including e-liquids. Alien Vapor denies
27   the remaining allegations of Paragraph 22.
28
29                                                  3
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 4 of 16 Page ID #:37



 1         23.    Alien Vapor admits that it advertised and continued to advertise its vaping
 2   products under the ALIEN VAPOR mark on the website located at
 3   www.alienvapor.com. Alien Vapor denies the remaining allegations of Paragraph 23.
 4         24.    Denied.
 5         25.    Denied.
 6         26.    Denied.
 7         27.    Denied.
 8         28.    Denied.
 9         29.    Denied.
10         30.    Denied.
11         31.    Denied.
12         32.    Denied.
13         33.    Denied.
14         34.    Denied.
15         35.    Alien Vapor admits that Count I purports to set forth a claim for
16   trademark infringement. Alien Vapor denies all allegations of infringement.
17         36.    Alien Vapor hereby incorporates its responses to Paragraphs 1-35 as
18   though fully set forth herein.
19         37.    Alien Vapor admits that Sarieddine claims to own federal registrations on
20   the Principal Register for the marks ALIEN VAPE and ALIEN VAPE. VAPE JUST
21   GOT REAL! & Design. The allegations in Paragraph 37 regarding the effect of those
22   registrations set forth legal conclusions to which no response is required. Alien Vapor
23   lacks knowledge or information sufficient to form a belief as to the truth or falsity of
24   the remaining allegations in Paragraph 37, and therefore denies the same.
25         38.    Denied.
26         39.    Denied.
27         40.    Denied.
28         41.    Denied.
29                                                  4
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 5 of 16 Page ID #:38



 1         42.    Denied.
 2         43.    Denied.
 3         44.    Alien Vapor admits that Count II purports to set forth a claim for federal
 4   unfair competition. Alien Vapor denies any liability under Count II.
 5         45.    Alien Vapor hereby incorporates its responses to Paragraphs 1-44 as
 6   though fully set forth herein.
 7         46.    Denied.
 8         47.    Denied.
 9         48.    Denied.
10         49.    Denied.
11         50.    Denied.
12         51.    Alien Vapor hereby incorporates its responses to Paragraphs 1-50 as
13   though fully set forth herein.
14         52.    Denied.
15         53.    Denied.
16         54.    Denied.
17         55.    Denied.
18         56.    Alien Vapor admits that Count IV purports to set forth a claim for
19   California common law trademark infringement. Alien Vapor denies any liability
20   under Count IV.
21         57.    Alien Vapor hereby incorporates its responses to Paragraphs 1-56 as
22   though fully set forth herein.
23         58.    Alien Vapor admits that Sarieddine claims to own federal registrations on
24   the Principal Register for the marks ALIEN VAPE and ALIEN VAPE. VAPE JUST
25   GOT REAL! & Design. The allegations in Paragraph 58 regarding the effect of those
26   registrations set forth legal conclusions to which no response is required. Alien Vapor
27   lacks knowledge or information sufficient to form a belief as to the truth or falsity of
28   the remaining allegations in Paragraph 58, and therefore denies the same.
29                                                  5
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 6 of 16 Page ID #:39



 1         59.    Denied.
 2         60.    Denied.
 3         61.    Denied.
 4         62.    Denied.
 5         63.    Denied.
 6         64.    Denied.
 7         65.    Denied.
 8         66.    Denied.
 9         67.    Denied.
10                                 AFFIRMATIVE DEFENSES
11                                   First Affirmative Defense
12         The Complaint, and each cause of action set forth in the Complaint, fails to state
13   a claim upon which relief may be granted.
14                                  Second Affirmative Defense
15         Alien Vapor has not infringed U.S. Trademark Registration Nos. 4997336 and
16   4517249.
17                                   Third Affirmative Defense
18         U.S. Trademark Registration Nos. 4997336 and 4517249, both purportedly
19   owned by Sarieddine, are invalid and unenforceable.
20                                  Fourth Affirmative Defense
21         Sarieddine’s allegations in the Complaint are barred under the doctrines of
22   acquiescence, release, implied license, waiver, and/or estoppel for which a reasonable
23   opportunity for investigation or discovery is likely to provide evidentiary support.
24                                   Fifth Affirmative Defense
25         Sarieddine’s claims are barred in whole or in part by the equitable principle and
26   defense of unclean hands, and Sarieddine therefore is precluded at law and in equity
27   from asserting any of the claims purported to be set forth in the Complaint.
28
29                                                  6
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 7 of 16 Page ID #:40



 1                                   Sixth Affirmative Defense
 2         Sarieddine is estopped from alleging or seeking damages with regard to any
 3   alleged rights or remedies which Sarieddine claims to have, by reason of his own
 4   actions including, but not limited to, fraud and other conduct, acts and/or omissions.
 5                                 Seventh Affirmative Defense
 6         Sarieddine knowingly made false, material representations of fact in connection
 7   with his application to register the ALIEN VAPE. VAPE JUST GOT REAL! mark
 8   with the intent to deceive the USPTO. Upon information and belief, in applying to
 9   register the mark, Sarieddine knowingly made a false, material representation of fact
10   with the intent to the deceive the USPTO that the mark was in use on “Electronic
11   cigarette vaporizers for alternative smoking”, when in fact the mark was not in use on
12   those goods when the application was filed. Additionally, on information and belief,
13   Sarieddine knowingly made a false, material representation of fact with the intent to
14   deceive the USPTO when he submitted an invalid substitute specimen during the
15   prosecution of the application. Thus, Sarieddine’s claims are barred, in whole or in
16   part, because he fraudulently procured U.S. Trademark Registration No. 4517249.
17                                  Eighth Affirmative Defense
18         Sarieddine knowingly made a false, material representation of fact in connection
19   with his application to register the ALIEN VAPE mark with the intent to deceive the
20   USPTO. Upon information and belief, in applying to register the mark, Sarieddine
21   knowingly made a false, material representation of fact with the intent to the deceive
22   the USPTO that the mark was in use on electronic cigarettes and oral vaporizers for
23   smokers, when in fact the alleged mark was not in use on those goods when the
24   application was filed. Thus, Sarieddine’s claims are barred, in whole or in part,
25   because he fraudulently procured U.S. Trademark Registration No. 4997336.
26                                   Ninth Affirmative Defense
27         Sarieddine’s claims for trademark infringement are barred on the grounds that
28   the alleged trademarks that form the basis of such claims fail to function as trademarks
29                                                  7
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 8 of 16 Page ID #:41



 1   and are generic and/or lack requisite secondary meaning and are therefore
 2   unprotectable.
 3                                   Tenth Affirmative Defense
 4         The Court lacks personal jurisdiction over Alien Vapor.
 5                                 Eleventh Affirmative Defense
 6         To the extent that Alien Vapor is found to have infringed based upon one or
 7   more claims of Sarieddine’s Complaint, such infringement was not willful, but was
 8   inadvertent.
 9                                  Twelfth Affirmative Defense
10         Sarieddine’s Complaint is frivolous and/or has been brought in bad faith.
11   Accordingly, Alien Vapor is entitled to recover its costs, including attorneys’ fees,
12   incurred in defending against the Complaint.
13                                Thirteenth Affirmative Defense
14         Sarieddine is barred from pursuing his claims in this District, because venue is
15   improper.
16                                Fourteenth Affirmative Defense
17         Alien Vapor alleges that Sarieddine suffered no cognizable injury as a result of
18   the matters alleged in his Complaint.
19                                 Fifteenth Affirmative Defense
20         The Complaint, and each and every count therein, is barred by the applicable
21   statute of limitations, including, but not limited to, California Code of Civil Procedure
22   §§ 337, 338, 339, 340, and/or 343.
23                                 Sixteenth Affirmative Defense
24         Sarieddine’s claims are barred by the doctrine of laches, in that, based upon
25   information and belief, Sarieddine has unreasonably delayed enforcing his purported
26   rights in his marks against third parties, including Alien Vapor, and this delay has
27   prejudiced Alien Vapor.
28
29                                                  8
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 9 of 16 Page ID #:42



 1                               Seventeenth Affirmative Defense
 2         Upon information and belief, Sarieddine’s claims are barred because he
 3   abandoned his purported marks by acts which have caused the marks to lose their
 4   significance as an indication or origin and by failing to enforce his marks against other
 5   unauthorized third party uses, which a reasonable opportunity for investigation or
 6   discovery is likely to provide additional evidentiary support.
 7                                Eighteenth Affirmative Defense
 8         To the extent Sarieddine has any trademark rights, Alien Vapor has priority of
 9   use for its ALIEN VAPOR trademark and as the senior user has superior rights to
10   those of Sarieddine, and Sarieddine’s registrations should therefore be canceled.
11                                    Reservation of Defenses
12         Alien Vapor hereby reserves any and all defenses that are available under the
13   Federal Rules of Civil Procedure and the Lanham Act and any other defenses, at law or
14   in equity, that may now exist or become available later as a result of discovery and
15   further factual investigation during this litigation.
16         WHEREFORE, Alien Vapor prays that the Court enter judgment in its favor and
17   against Sarieddine with regard to the claims in the Complaint and grant the following
18   relief: a judgment dismissing Sarieddine’s Complaint in its entirety with prejudice, for
19   attorneys’ fees as provided by statute or common law, and for such other and further
20   relief as the Court deems just and proper.
21
22
23
24
25
26
27
28
29                                                  9
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 10 of 16 Page ID #:43



 1                                        COUNTERCLAIMS
 2         Defendant/Counterclaim Plaintiff Alien Vapor Enterprises, LLC (“Alien
 3   Vapor”) hereby asserts the following counterclaims against Plaintiff/Counterclaim
 4   Defendant Mike Sarieddine (“Sarieddine”):
 5         1.       Alien Vapor is a Florida limited liability company with an address of
 6   1014 Greenturf Road, Spring Hill, Florida 34608.
 7         2.       Sarieddine is an individual residing in the county of Los Angeles,
 8   California.
 9                                  JURISDICTION AND VENUE
10         3.       This Court has subject matter jurisdiction as it involves issues concerning
11   trademarks arising under United States law, namely, 15 U.S.C. § 1051 et seq., and
12   under 28 U.S.C. §§ 1331 and 1338(a) and the Declaratory Judgment Act, 28 U.S.C. §§
13   2201 and 2202.
14         4.       Venue for the counterclaims are based on Sarieddine having brought an
15   action against Alien Vapor in this district and under 28 U.S.C. §§ 1391(b) and (c).
16         5.       This Court has personal jurisdiction over Sarieddine because he resides in
17   this judicial district and because he has filed the instant action in this Court.
18                                     BACKGROUND FACTS
19         6.       Alien Vapor is owned by Glenn Polacek.
20         7.       Since as early as February 2012, Mr. Polacek used the ALIEN VAPOR
21   trademark in commerce in connection with the sale of electronic vapor cigarettes (“e-
22   cigarettes”) and e-cigarette liquid.
23         8.       Mr. Polacek organized Alien Vapor on April 19, 2013.
24         9.       Sarieddine filed US Serial Number 85921161 for ALIEN VAPE. VAPE
25   JUST GOT REAL! & Design on May 2, 2013 for “electronic cigarettes vaporizers for
26   alternative smoking” in International Class 34 with a claimed first use in commerce
27   date of April 30, 2013. A printout from the USPTO website showing its status is
28   attached as Exhibit A.
29                                                   10
                DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 11 of 16 Page ID #:44



 1         10.    On June 10, 2013, the Examining Attorney at the USPTO issued an Office
 2   Action stating, among other things, that the ALIEN VAPE. VAPE JUST GOT REAL!
 3   & Design mark on the specimen did not match the mark on the drawing. A copy of the
 4   Office Action is attached as Exhibit B.
 5         11.    On November 18, 2013, Sarieddine filed a response to the Office Action
 6   that included a substitute specimen along with a declaration that the substitute
 7   specimen was in use in commerce at least as early as the May 2, 2013 filing date of the
 8   application. A copy of the Office Action response is attached as Exhibit C.
 9         12.    Sarieddine’s substitute specimen consisted of a picture of product
10   packaging from his website.
11         13.    Sarieddine’s trademark application for ALIEN VAPE. VAPE JUST GOT
12   REAL! & Design was subsequently approved.
13         14.    Sarieddine registered his <alienvape.com> domain name on April 25,
14   2013, which is one week before he filed his trademark application for ALIEN VAPE.
15   VAPE JUST GOT REAL! & Design. A copy of the WHOIS record for this domain
16   name is attached as Exhibit D.
17         15.    June 4, 2013 is the date of the earliest cached page of Sarieddine’s
18   website in the Internet Archive. A copy of the cached page is attached as Exhibit E.
19         16.    On November 17, 2015, Sarieddine filed US Serial Number 86823686 for
20   ALIEN VAPE (words only) for “Electronic cigarette liquid (e-liquid) comprised of
21   flavorings in liquid form used to refill electronic cigarette cartridges; Electronic
22   cigarette liquid (e-liquid) comprised of propylene glycol; Electronic cigarette liquid (e-
23   liquid) comprised of vegetable glycerin; Electronic cigarettes; Oral vaporizers for
24   smokers” in International Class 34. A printout from the USPTO website showing its
25   status is attached as Exhibit F.
26         17.    In his application, Sarieddine submitted a declaration through counsel that
27   he was using the ALIEN VAPE mark in commerce on all of the goods listed in the
28
29                                                 11
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 12 of 16 Page ID #:45



 1   application as of November 17, 2015. A copy of the trademark application is attached
 2   as Exhibit G.
 3         18.    On May 20, 2017, Sarieddine filed a declaration in this Court stating
 4   under penalty of perjury that “I have not sold vaporizers since 2014.” A copy of the
 5   declaration is attached as Exhibit H.
 6         19.    Upon information and belief, when the application was filed on
 7   November 17, 2015, Complainant was not using the ALIEN VAPE mark in connection
 8   with electronic cigarettes or oral vaporizers for smokers.
 9                                  FIRST COUNTERCLAIM
10         CANCELLATION OF FEDERAL TRADEMARK REGISTRATIONS
11         20.    Alien Vapor hereby repeats and realleges the allegations in Paragraphs 1-
12   19 of its Counterclaims as if set forth fully herein.
13         21.    Pursuant to 15 U.S.C. § 1119, in any action involving a registered mark
14   the Court may, inter alia, determine the right to registration and order the cancelation
15   of registrations with respect to the registrations of any party to the action.
16         22.    To the extent that any conflict exists between Alien Vapor’s ALIEN
17   VAPOR mark and Sarieddine’s ALIEN VAPE and ALIEN VAPE. VAPE JUST GOT
18   REAL! & Design trademarks, Alien Vapor has priority over use of the term “ALIEN”
19   in connection with e-cigarette products.
20         23.    As a result of Alien Vapor’s priority of use and superior trademark rights,
21   to the extent that any conflict exists between Alien Vapor’s trademark and
22   Sarieddine’s trademarks, U.S. Trademark Registration Nos. 4997336 and 4517249
23   should be cancelled.
24         24.    The order canceling U.S. Trademark Registration Nos. 4997336 and
25   4517249 should be certified by the Court to the Director of the U.S. Patent &
26   Trademark Office in accordance with 15 U.S.C. § 1119.
27
28
29                                                 12
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 13 of 16 Page ID #:46



 1                                 SECOND COUNTERCLAIM
 2         CANCELLATION OF FEDERAL TRADEMARK REGISTRATION
 3         25.    Alien Vapor hereby repeats and realleges the allegations in Paragraphs 1 –
 4   24 of its Counterclaims as if set forth fully herein.
 5         26.    Upon information and belief, in applying to register the mark, Sarieddine
 6   knowingly made a false, material representation of fact with the intent to the deceive
 7   the USPTO that the ALIEN VAPE. VAPE JUST GOT REAL! & Design mark was in
 8   use on “Electronic cigarette vaporizers for alternative smoking”, when in fact the mark
 9   was not in use on those goods when the application was filed.
10         27.    Upon information and belief, Sarieddine also knowingly made a false,
11   material representation of fact with the intent to deceive the USPTO when he
12   submitted his substitute specimen during the prosecution of the application for ALIEN
13   VAPE. VAPE JUST GOT REAL! & Design.
14         28.    Sarieddine therefore obtained U.S. Trademark Registration No. 4517249
15   through fraud.
16         29.    Alien Vapor has no adequate remedy at law and therefore seeks a
17   declaratory judgment pursuant to 28 U.S.C. §§ 2201−02 that U.S. Trademark
18   Registration No. 4517249 is void, invalid and unenforceable due to fraud on the
19   USPTO and that the registration should be cancelled.
20         30.    The order canceling U.S. Trademark Registration No. 4517249 should be
21   certified by the Court to the Director of the U.S. Patent & Trademark Office in
22   accordance with 15 U.S.C. § 1119.
23                                  THIRD COUNTERCLAIM
24         CANCELLATION OF FEDERAL TRADEMARK REGISTRATION
25         31.    Alien Vapor hereby repeats and realleges the allegations in Paragraphs 1 –
26   30 of its Counterclaims as if set forth fully herein.
27         32.    Upon information and belief, in applying to register the ALIEN VAPE
28   mark, Sarieddine knowingly made a false, material representation of fact with the
29                                                 13
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 14 of 16 Page ID #:47



 1   intent to the deceive the USPTO that the mark was in use on electronic cigarettes and
 2   oral vaporizers for smokers, when in fact the mark was not in use on those goods when
 3   the application was filed.
 4         33.    Sarieddine therefore obtained U.S. Trademark Registration No. 4997336
 5   through fraud.
 6         34.    Alien Vapor has no adequate remedy at law and therefore seeks a
 7   declaratory judgment pursuant to 28 U.S.C. §§ 2201−02 that U.S. Trademark
 8   Registration No. 4997336 is void, invalid and unenforceable due to fraud on the
 9   USPTO and that the registration should be cancelled.
10         35.    The order canceling U.S. Trademark Registration No. 4997336 should be
11   certified by the Court to the Director of the U.S. Patent & Trademark Office in
12   accordance with 15 U.S.C. § 1119.
13                                FOURTH COUNTERCLAIM
14               DECLARATORY JUDGMENT OF NONINFRINGEMENT
15         36.    Alien Vapor hereby repeats and realleges the allegations in Paragraphs 1 –
16   35 of its Counterclaims as if set forth fully herein.
17         37.    Sarieddine has accused Alien Vapor of trademark infringement pursuant
18   to 25 U.S.C. § 1114 and 1125(a).
19         38.    Alien Vapor denies Sarieddine’s allegations of trademark infringement as
20   contained in its Answer as set forth above.
21         39.    Sarieddine’s allegations of infringement pose a threat to Alien Vapor’s
22   business and has and will continue to harm Alien Vapor until such claims are resolved.
23         40.    As a result of the foregoing, an actual case or controversy exists regarding
24   Sarieddine’s allegations of trademark infringement.
25         41.    Alien Vapor has no adequate remedy at law and therefore seeks a
26   declaratory judgment pursuant to 28 U.S.C. §§ 2201−02 that Alien Vapor has not
27   infringed Sarieddine’s asserted trademarks.
28
29                                                 14
              DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 15 of 16 Page ID #:48



 1           42.      Alien Vapor additionally seeks any further relief deemed appropriate by
 2   this Court pursuant to 28 U.S.C. § 2202.
 3                                            JURY DEMAND
 4           Alien Vapor hereby demands a trial by jury to decide all issues so triable in this
 5   case.
 6                                        PRAYER FOR RELIEF
 7           WHEREFORE, Alien Vapor prays for judgment against Sarieddine as follows:
 8           a.       That Sarieddine take nothing by the Complaint;
 9           b.       A declaration that U.S. Trademark Registration Nos. 4517249 and
10   4997336 be cancelled;
11           c.       The Court certify its order of cancellation to the Director of the USPTO
12   requiring that the appropriate entry be made upon the records of the USPTO cancelling
13   U.S. Trademark Registration Nos. 4517249 and 4997336;
14           d.       A declaration of non-infringement with respect to Sarieddine’s asserted
15   trademarks;
16           e.       An award of attorneys’ fees and costs; and
17           f.       For such other and further relief as this Court deems just and proper.
18
19   Dated: May 15, 2018                                    ENENSTEIN PHAM & GLASS APC
20                                                          By: /s/Ned Gelhaar
21                                                          Counsel for Defendant/Counterclaim
                                                            Plaintiff Alien Vapor Enterprises, LLC
22
23
24
25
26
27
28
29                                                     15
                  DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
30
Case 2:18-cv-03297-CAS-AGR Document 10 Filed 05/15/18 Page 16 of 16 Page ID #:49



 1                             CERTIFICATE OF SERVICE
 2       I hereby certify that on May 15, 2018, a copy of the foregoing document titled
 3   DEFENDANT ALIEN VAPOR ENTERPRISES, LLC’S ANSWER TO
 4   COMPLAINT AND COUNTERCLAIMS was filed electronically via the Court’s
 5   CM/ECF system. Pursuant to Local Rule 5-3.2, the Notice of Electronic Filing (NEF)
 6   will be served on all parties by operation of the Court’s CM/ECF system, and the
 7   parties may access this filing through the Court’s CM/ECF system.
 8
 9                                               /s/ Michelle Choto
10                                               Michelle Choto

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
                                             1
30                                 CERTIFICATE OF SERVICE
